                       Case 1:23-cr-00037-RDM Document 1 Filed 01/23/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of &ROXPELD

                  United States of America                                 )
                             v.                                            )
                                                                           )       Case No.
                   DUSTIN SARGENT
                                                                           )
                    DOB: XXXXXX                                            )
                                                                           )
                                                                           )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      January 6, 2021                    in the county of                                       in the
                          LQ WKH 'LVWULFW RI         &ROXPELD          , the defendant(s) violated:

              Code Section                                                            Offense Description
        18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in the Capitol Grounds or Buildings,
        40 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement during Civil Disorder,
        18 U.S.C. § 111(a)(1) - Assaulting, Resisting, or Impeding Certain Officers,
        18 U.S.C. §§ 1512(c)(2) and 2 - Obstruction of an Official Proceeding and Aiding and Abetting.
          This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




          9
          u   Continued on the attached sheet.




                                                                                                            Printed name and title
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Date:             1/23/2023
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                                                                                                              Judge’s signature

City and state:                         :DVKLQJWRQ '&                               Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                            Printed name and title
